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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/N/A JULIE :

ELLEN BARTELS AND FREDERICK L. : No. 1:16-cv-2145-CCC
BARTELS, JR., Individually and as : (Conner, C.J.)

Adminisatrators of the Estate of Abrielle : (Carlson, M.J.)

Kira Bartels, Deceased,
Plaintiffs,
Vv.

THE MILTON HERSHEY SCHOOL, et al.

 

ORDER

AND NOW, this a * ay of Aug ust , 2017, following a telephone
conference held with the parties, and counsel for Pinnacle Health Systems
(“Pinnacle”) and Lesley P. Davis, LPC (“Ms. Davis”) to address Defendants’
subpoenas to produce documents, information, or objects both with a return date of
June 20, 2017, in the above-captioned matter, IT IS HEREBY ORDERED THAT
Pinnacle and Ms. Davis shall fully comply with the subpoenas by September yay
2017, and produce, inter alia, the materials sought in the subpoenas, including, but
not limited to, the complete and entire medical chart of Abrielle Kira Bartels,
Deceased, This Order authorizes the release of, including, but not limited to, the
following: alcohol, drug, or substance abuse records; HIV testing and results or
sexually transmitted disease diagnosis or treatment; and mental health or

psychotherapy records.
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Martin C. Carlson
United States Magistrate Judge

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Counsel lae Provided: wth vottce nl a

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So ordered Ths st olay of hugust, 200]

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